                                UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION

                                     NO. 5:09-CR-316-6F(3)

         UNITED STATES OF AMERICA

                         v.                                ORDER APPROVING
                                                      PRETRIAL DIVERSION AGREEMENT
         NYKKYTTA LANE

               The United States Attorney,       having deferred prosecution in

         this case pursuant to a written agreement with the Defendant, the

         written agreement having been submitted to the Court for approval,

         and the Court having reviewed the written agreement and being of

         the opinion that         deferred prosecution pursuant         to    the written

         agreement is appropriate in this case, it is
    /'
I
              HEREBY ORDERED that the Pretrial Diversion Agreement executed
\'-.
         in this case between the United States and NYKKYTTA LANE, on May

         13, 2010, is approved in accordance with Section 6(b) of the Plan

         for Achieving Prompt Disposition of Criminal Cases for the Eastern

         District   of    North    Carolina and Title     18,   United       States    Code,

         Section 3161 (h) (2) .

              The Clerk of Court is hereby directed to file the Pretrial

         Diversion Agreement executed herein regarding NYKKYTTA LANE and

         this Order Approving Pretrial Diversion Agreement.

              This, the ~ day o~ 2010.
                                          JUne..­


                                                                STATES DISTRICT JUDGE




              Case 5:09-cr-00316-F     Document 112    Filed 06/10/10    Page 1 of 1
